 USCA11 Case: 21-11565       Document: 18    Date Filed: 04/15/2022   Page: 1 of 20



                  UNITED STATES COURT OF APPEALS
                              ELEVENTH CIRCUIT


SEAN P REILLY,
     Petitioner/Appellant,
V.                                                  Appeal No.: 21-11565-CC
                                       D.C. Case No. 4:20-cv-145-TKW-EMT
MARK S.INCH,
Secretary, Department of Corrections,
      Respondent/Appellee.




                     Appeal from the District Court for the
                             Northern District of Florida




                                 INITIAL BRIEF




                          Sean P. Reilly DC#N21886
                South Bay Correctional & Rehabilitation Facility
                                   P.O. Box 7171
                                South Bay,FL 33493
 USCA11 Case: 21-11565     Document: 18      Date Filed: 04/15/2022   Page: 2 of 20



                           TABLE OF CONTENTS


TABLE OF CONTENTS                                                                     11



TABLE OF CITATIONS                                                                111



STATEMENT OF JURISDICTION                                                         IV



STATEMENT OF THE ISSUES                                                               V



  1.   Reilly’s 2020 § 2254 petition challenging his original 2009 judgment,
 raising a claim that was unexhausted at the time of the first § 2254 petition, was
 not second or successive warranting dismissal                                        V




 2.    Reilly was “in custody” under the original 2009 judgment when he filed his
 2020 § 2254 petition challenging the said judgment                                   V



STATEMENT FOR ORAL ARGUMENT                                                       VI



STATEMENT OF THE CASE AND FACTS                                                       1


ARGUMENT ON THE MERITS                                                                2


ISSUE ONE                                                                             2

 Reilly’s 2020 § 2254 petition challenging his original 2009 judgment, raising a
 claim that was unexhausted at the time of the first § 2254 petition, was not
 second or successive warranting dismissal                                            2


ISSUE TWO                                                                             8

 Reilly was “in custody” under the original 2009 judgment when he filed his
 2020 § 2254 petition challenging the said judgment                      8

CONCLUSION                                                                        10


CERTIFICATE OF COMPLIANCE                                                         11


CERTIFICATE OF SERVICE                                                            11


CERTIFICATE       OF     INTERESTED          PERSONS        AND       CORPORATE

DISCLOSURE STATEMENT                                                              12



                                        II
 USCA11 Case: 21-11565     Document: 18       Date Filed: 04/15/2022   Page: 3 of 20



                           TABLE OF CITATIONS


Cases


Benton v. Washington, 106 F.3d 162, 164(7th Cir. 1996)                                 7


In re Cain, 137 F.3d 234, 235 (5th Cir. 1998)                                          3


In re Gasery, 116 F.3d 1051, 1052(5th Cir. 1997)                                       7


Lee V. Stickman, 357 F.3d 338, 342-43 n.3(3d Cir. 2004)                                9


Magwoodv. Patterson, 130 S. Ct. 2788, 2805, 177 L. Ed. 2d 592(2010)              3,5

Malengv. Cook,490 U.S. 488,490-91, 109 S. Ct. 1923, 104 L. Ed. 2d 540(1989)9

Nwani v. Pennsylvania, 2018 US Dist. LEXIS 32559(E.D.PA 2018)                          8


Reilly V. Fla., 2020 U.S. LEXIS 84(US., Jan. 13, 2020)                                 3


Reilly V. State, 2019 Fla. App. LEXIS 13673 (Fla. 1st DCA,Aug. 21, 2019)               2


Reilly v. State, 211 So. 3d 1009 (Fla. 1st DCA,May 24, 2019)                           2


Stewart v. United States, 646 F.3d 856, 863-65 (11th Cir. 2011)                        4




                                        iii
 USCA11 Case: 21-11565      Document: 18     Date Filed: 04/15/2022   Page: 4 of 20


                      STATEMENT OF JURISDICTION

      This appeal is concerning a final order affirming and adopting the Magistrate

Judge’s report and recommendation (ECF No. 20; 24). The District Judge

dismissed as “second or successive'   the Appellant, Sean P. Reilly’s petition for

writ of habeas corpus filed under Title 28 U.S.C. § 2254, to vacate his conviction

and sentence.(ECF No. 1). The final order was rendered by the federal Nouthem

District of Florida, Tallahassee Division. This Court has jurisdiction to hear this

appeal under 28 U.S.C. § 1291.




                                        IV
USCA11 Case: 21-11565     Document: 18   Date Filed: 04/15/2022   Page: 5 of 20



                        STATEMENT OF THE ISSUES


    1. Reilly’s 2020 § 2254 petition challenging his original 2009
       judgment, raising a claim that was unexhausted at the time of
       the first § 2254 petition, was not second or successive
       warranting dismissal


    2. Reilly was in custody” under the original 2009 judgment
                    a



      when he filed his 2020 § 2254 petition challenging the said
      judgment
 USCA11 Case: 21-11565      Document: 18      Date Filed: 04/15/2022   Page: 6 of 20




                   STATEMENT FOR ORAL ARGUMENT


      Appellant requests that oral arguments would be necessary to better

understand the issue. This case presents a unique and complicated procedural

situation. Appellant asks this Court to appoint counsel for oral arguments.




                                         vi
 USCA11 Case: 21-11565      Document: 18     Date Filed: 04/15/2022   Page: 7 of 20


                  STATEMENT OF THE CASE AND FACTS

      Sean Reilly filed two separate motions for post-conviction relief in the state

court. One motion challenged his 2009 original judgment; the other challenged his

2010 VOP Judgment. The state post-conviction court appointed counsel to

represent Reilly on both of his motions. At the evidentiary hearing, appointed

counsel abandoned the        motion challenging the 2010          VOP judgment.

Postconviction counsel pursued only one claim from Reilly’s motion challenging

the 2009 original judgment: ineffective assistance of trial counsel for failing to

convey to Reilly an offer of deferred prosecution.

      After post-conviction counsel abandoned the claims challenging the 2010

VOP Judgment, Reilly filed a § 2254 federal habeas petition in April 2018

challenging only the claims relating to his 2010 VOP judgment. Reilly could not

raise the claim relating to his original 2009 judgment because the claim was still

pending in the state appellate court; therefore, it was unexhausted for AEDPA

purposes. With regard to the claim relating to the 2009 original judgment.

exhaustion in the state appellate court did not occur until August 21, 2019. See

Reilly v. State, 111 So. 3d 1009 (Fla. 1st DCA, May 24, 2019), rehearing denied,

Reilly V. State, 2019 Fla. App. LEXIS 13673 (Fla. 1st DCA,Aug. 21, 2019).

      After complete exhaustion of the claim challenging the 2009 original

judgment, Reilly filed a new § 2254 federal habeas petition in 2020. Ultimately,


                                         1
 USCA11 Case: 21-11565       Document: 18    Date Filed: 04/15/2022   Page: 8 of 20



the District Court ruled that the 2020 § 2254 petition was “second or successive'

and that he was not “in custody” for purposes of filing a petition challenging the

2009 original judgment. DE# 20 & 22.

      This appeal follows.

                        ARGUMENT ON THE MERITS


POINT ONE; Reilly’s 2020 § 2254 petition challenging his original 2009
judgment, raising a claim that was unexhausted at the time of the first § 2254
petition was filed, was not second or successive warranting dismissal

      There are two judgments relevant to a successiveness analysis: the 2009

original judgment, and the 2010 VOP judgment. The 2009 original judgment

stemmed from Reilly’s conviction of two counts of criminal use of personal

identification information and resulted in a spilt sentence of 11 months, 29 days in

county jail followed by 2 years community control and then two years probation.

The 2010 VOP judgment stemmed from Reilly’s violation of the community

control portion of his spilt sentence and resulted in five years’ imprisonment on the

first count followed by two years community control and then two years probation

on the second count.


      In his current § 2254 petition, Reilly challenged only the 2009 original

judgment, not the 2010 VOP judgment. The claims he raised in the petition were

ripe for federal review after the 2018 § 2254 petition because his state post

conviction proceedings, stemming from the 2009 original judgment, had just


                                         2
 USCA11 Case: 21-11565        Document: 18     Date Filed: 04/15/2022   Page: 9 of 20


concluded when he filed his 2020 petition. See Reilly v. State, 211 So. 3d 1009

(Fla. 1st DCA, May 24, 2019), rehearing denied, Reilly v. State, 2019 Fla. App.

LEXIS 13673 (Fla. 1st DCA, Aug. 21, 2019), certiorari denied, Reilly v. Fla.,

2020 U.S. LEXIS 84(U.S., Jan. 13, 2020).

       A § 2254 application is not successive merely because it follows an earlier

application. In re Cain, 137 F.3d 234, 235 (5th Cir. 1998); Magwood v. Patterson,

130 S. Ct. 2788, 2805, 177 L. Ed. 2d 592(2010)(“second or successive [does] not

refer to all § 2254 applications filed second or successively in time, but [is] rather a

term-of-art that takes its full meaning from our case law, including decisions

predating the enactment of AEDPA.”).

      Here, the Magistrate and ultimately the District Court Judge concluded that

because Reilly had already filed a § 2254 petition in 2018 concerning the 2010

VOP judgment {see case no. 4:18cv225/MW/CAS), he could not file another §

2254 petition challenging the 2009 original judgment because such petition would

be “second or successive” and would require permission from this Court under 28

U.S.C. § 2244(3)(A). DE# 20 at 8-9. In the Report and Recommendation, the

Magistrate posited that

             all of the alleged defects in the 2009 proceedings were
             available to Reilly when he filed his 2018 federal
             petition-, therefore, he could have, indeed should have,
             asserted challenges to any or all of the judgments {i.e.,
             the 2009 Original Judgment, 2010 VOP Judgment, and


                                           3
USCA11 Case: 21-11565         Document: 18       Date Filed: 04/15/2022   Page: 10 of 20



            2015 Second VOP Judgment) in his 2018 federal
            petition.

DE# 20 at 10 (citing Stewart v. United States, 646 F.3d 856, 863-65 (11th Cir.

2011)(emphasis added).

      The Magistrate’s reliance upon Stewart was misplaced. Stewart actually

supports Reilly’s position.

      It is beyond dispute that the alleged defects in the 2009 proceedings were

not ripe for federal review when Reilly filed his 2018 § 2254 petition. At the time

he filed the 2018 petition challenging the 2010 VOP judgment, Reilly’s state post

conviction proceedings, relating to the 2009 original judgment, were still pending

in the state courts. The Magistrate clearly overlooked that Reilly’s appointed post

conviction counsel, Baya Harrison, abandoned the postconviction motion

concerning the 2010 VOP judgment and pursued instead the motion relating to the

2009 original judgment(^ee Exhibit A of Reilly’s Objs., which is a trial court order

noting that “[a]11 other claims [including those relating to the 2010 VOP judgment

were abandoned at the evidentiary hearing by counsel.”).

      The claims Reilly presented in his 2020 petition were unexhausted at the

time he filed the 2018 petition. Therefore, the new 2020 petition presenting the

claims that were exhausted in state court after 2018 is not a “second or successive’

petition under 28 U.S.C. § 2244. See Magwood v. Patterson, 130 S. Ct. 2788,

2805, 177 L. Ed. 2d 592 (2010)(“second or successive [does] not refer to all §
                                             4
 USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 11 of 20



2254 applications filed second or successively in time, but [is] rather a term-of-art

that takes its full meaning from our case law, including decisions predating the

enactment of AEDPA.”).

      Thus, Reilly had no choice but to file the 2018 federal petition challenging

the 2010 VOP judgment before his state post-conviction proceedings, relating to

the 2009 original judgment, concluded; otherwise, he may have forfeited his only

opportunity to file a § 2254 petition challenging the 2010 VOP judgment.

      The Magistrate relied on Stewart v. United States, 646 F.3d 856, to support

the finding that Reilly’s federal habeas petition is “second or successive.” But

Stewart actually supports Reilly’s position.

      In Stewart, the Eleventh Circuit explained that if a purported defect existed,

or the claim was ripe, at the time of a prior 28 U.S.C. § 2255 petition, a later

petition is likely to be held successive even ifthe legal basis for the attack was not.

646 F.3d at 864-65. If, however, the purported defect did not arise, or the claim

did not ripen, until after the conclusion of the previous petition, the later petition

based on that defect may be non-successive. Id.

      Here, the claims Reilly raised in his current § 2254 petition were not ripe for

review in the District Court until after his state post-conviction proceedings.

relating to the 2009 original judgment, concluded. After all, how could he have

filed a § 2254 petition, relating to the 2009 original judgment, if his state post-


                                           5
 USCA11 Case: 21-11565       Document: 18       Date Filed: 04/15/2022   Page: 12 of 20


conviction proceedings were still pending? And, what was Reilly supposed to do to

have his constitutional claims, relating to the 2009 original judgment, heard by the

federal courts? Was he supposed to request that the District Court “stay and abey”

his 2018 federal habeas petition until his state post-conviction proceedings, relating

to the 2009 original judgment, concluded? Significantly, this proposition was

already rejected by this Court in Stewart. See id, 646 F.3d at 864 (expressly

rejecting the idea that defendants should include any potential claims in their initial

§ 2255 motions, even ifthey are not ripe for review, and then ask the district courts

to “stay and abey” the proceedings until the claims ripen for federal review).

      Faced with a difficult situation, Reilly did the only thing he could have done

in order to ensure that he had a fair opportunity to raise any and all constitutional

claims in the federal courts relating to both the 2009 original judgment and the

2010 VOP judgment: he filed the 2018 federal petition relating to the 2010 VOP

judgment as soon as his post-conviction counsel abandoned his post-conviction

motion; then he filed the instant federal habeas petition relating to the 2009

original judgment as soon as his state post-conviction proceedings concluded. This

was the only way to ensure that all of his claims would be heard by the federal

courts.


      Prisoners are guaranteed federal habeas review of each claim once they are

fully exhausted in the state courts. It would be patently unfair to deny a petitioner

                                            6
 USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 13 of 20


habeas review of a claim that was pending in the state courts, while the first § 2254

federal habeas petition arguing different claims was pending in the federal court.

See In re Gasery, 116 F.3d 1051, 1052 (5th Cir. 1997) {citing Benton v.

Washington, 106 F.3d 162, 164 (7th Cir. 1996)) (“The sequence of filing.

dismissal, exhaustion in state court, and refiling ... might generate multiple docket

numbers, but it would not be right to characterize it as successive collateral

attacks.”).

      In sum, an empty formality requiring Reilly to file unripe lAC claims

'neither respects the limited legal resources available to the States nor encourages

the exhaustion of state remedies.” Panetti v. Quarterman, 168 L.Ed.2d 662, 678,

551 U.S. 930(2007){ci^mgDuncan v. Walker, 533 U.S. 167, 178, 121 S. Ct. 2120,

150 L. Ed. 2d 251 (2001)). “Instructing prisoners to file premature claims... does

not conserve judicial resources, ‘reduc[e] piecemeal litigation,’ or ‘streamlin[e’
                             999
federal habeas proceedings.        Panetti, 168 L.Ed.2d at 678 (quoting Burton v.

Stewart, 549 U.S. 147, _, 127 S. Ct. 793, 166 L. Ed. 2d 628 (2007)(per curiam)

(internal quotation marks omitted)).

      Accordingly, Reilly’s 2020 § 2254 petition was not “second or successive'

within the meaning of the AEDPA. Contrary to the Magistrate and the District

Court’s findings, Reilly was not required to wait until the claims relating to the

2009 original judgment ripened before he filed a § 2254 petition concerning the


                                           7
USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 14 of 20



2010 VOP judgment. Such proposition would be, as this Court Circuit stated in

Stewart, “untenable. Id., 646 F.3d at 864. Once his post-conviction counsel

abandoned the state post-conviction motion concerning the 2010 VOP Judgment,

Reilly had no choice but to file the 2018 federal petition challenging only the 2010

VOP judgment and then file a subsequent federal petition challenging the 2009

original judgment once the claims ripened for review in 2020.

POINT TWO; Reilly was “in custody” under the original 2009 judgment
when he filed his 2020 § 2254 petition challenging the said judgment

      Reilly finds himself in an unusual procedural posture. There seems to be a

dearth of case law addressing his situation. Nwani v. Pennsylvania, 2018 US Dist.

LEXIS 32559(E.D. PA 2018), is the closest case Reilly could find.

      In Nwani,the petitioner, a Pennsylvania state prisoner, sought federal habeas

relief under 28 U.S.C. § 2254. In his petition, he challenged his original 2015

conviction and sentence after he twice violated the terms and conditions of his

probation (one violation occurred in 2016 and the other in 2017). Id. at 7. The

government argued that he was no longer “in custody” under the original 2015

conviction and sentence in light of his subsequent 2016 and 2017 violations of

probation. Id. In other words, the government contended that he was not permitted

to challenge his original 2015 conviction and sentence, but rather could only

challenge his most recent violation of probation, i.e., the 2017 violation and the

resulting sentence of6 to 24 months.Id.
                                          8
 USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 15 of 20



      In Nwani, the Magistrate Judge explained that the government “fail[ed] to

recognize that, at the time he filed his habeas petition, Nwani remained subject to

the probationary sentence from the 2015 conviction that is the subject of the

petition," Id. Significantly, the fact that Nwani was 'attacking his original

conviction and sentence but is ‘in custody’ as a result of a probation violation

[was] inconsequential," the Magistrate concluded. Id. “[A] violation of probation is

not considered a separate offense but an element of the original sentence.’” Id. at 8

(quoting Lee v. Stickman, 357 F.3d 338, 342-43 n.3 (3d Cir. 2004)(alteration in

original; emphasis added). See also Malengv. Cook, 490 U.S. 488, 490-91, 109 S.

Ct. 1923, 104 L. Ed. 2d 540(1989)).

      Here, as in Nwani, Reilly’s “sentence on the [2009] conviction was not

completed and [] he was either confined in prison or out on probation subject to the

sentence for the [2009] conviction at the time he filed the petition.” Nwani, 2018

US Dist. LEXIS 32559 n. 7. Although the trial court resentenced Reilly in 2010

and 2015 for his probation violations, and although he also is subject to a sentence

from another conviction in case no. 2014-CF-17, Reilly unquestionably ‘‘‘"remains

in custody under his original sentence" for federal habeas purposes, as in Nwani.

Id. (emphasis added). See also Stennis v. Inch, 2019 U.S. Dist. LEXIS 144588

(S.D. Fla. Aug. 23, 2019)(concluding that a 2009 probation revocation judgment

restarted the federal one-year limitations period thus permitting Stennis to


                                           9
 USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 16 of 20



challenge his 1997 original judgment and essentially acknowledging that Stennis

was still in custody under the 1997 original judgment)(citing Ferreira v. Sec’y,

Dep’t ofCorr., 494 F.3d 1286, 1293 (11th Cir. 2007).

      Accordingly, as in Nwani, Reilly was “in custody” at the time he filed his

2020 § 2254 petition, contrary the Magistrate and the District Court’s findings.

                                  CONCLUSION


      Reilly respectfully requests this Court to reverse and remand this case to the

District Court with instructions for the Court to adjudicate his claims on the merits.

as his 2020 § 2254 petition was not second or successive under the AEDPA.



                                               Respectfully Submitted,


                                               Sean P Reilly            1886




                                          10
USCA11 Case: 21-11565       Document: 18       Date Filed: 04/15/2022   Page: 17 of 20


                      CERTIFICATE OF COMPLIANCE


      This certificate provides that the Appellant has complied with Federal Rule

of Appellate Procedure 32(a)(7)(B):

             This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 2,284 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii), and

             This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in a proportionally spaced typeface using Microsoft Word

in 14-point Times New Roman font.


                                               Sean P Reilly DC# N21886


                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that the foregoing has been hand-delivered to
institutional staff at South Bay Correctional Facility for mailing on this         day

of          I              , 2022, to: Eleventh Circuit Court of Appeals, Elbert
Parr Court of Appeals Building, 56 Forsythe Street, N.W., Atlanta, Georgia 30303;
Office ofthe Attorney General, The Capitol - Suite PLOl, Tallahassee, FL 32399.



                                               Sean P Reilly 00^21886
                                               South Bay Correctional Facility
                                               P.O. Box 7171
                                               South Bay, Florida 33493

                                          11
 USCA11 Case: 21-11565      Document: 18       Date Filed: 04/15/2022   Page: 18 of 20



              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT


                             CASE NO.: 21-11565-A


                    L.T. CASE NO.:      4:20-cv-145-TKW/EMT


                                SEAN P REILLY,
                                     Appellant,

                                         vs.



                               MARKS.INCH, etal,
                                      Appellee.

                 CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT


      Pursuant to 11th Cir. R. 26.1, the Appellant, Sean P Reilly, pro se, hereby

submits this Certificate of Interested Persons and Corporate Disclosure Statement,

and in so doing certifies, to the best of his knowledge and belief, that the following

list of all persons who might have an interest in the outcome ofthis case:

  • Abrahamsen, Eric — trial prosecutor;

  • Bondi,Pam,then-Attorney General ofFlorida;


  • Campbell, Jack - State Attorney;


  • Clark, Marie -Florida State University Police Sergeant;


  • Davis, Jennifer -Putative Witness;


  • Hankinson, James C.—^trial judge;

                                         12
USCA11 Case: 21-11565   Document: 18      Date Filed: 04/15/2022   Page: 19 of 20




 • Harrison III, Baya—^Post-conviction attorney;


 • Inch, Mark - Secretary, Florida Department of Corrections;


 • Kawa,Inam - Putative Witness;


 • McDermott, Michael—Assistant Attorney General of Florida;


 • Vega, Melissa -Putative Witness;


 • Villeneuve, Paul—Trial Attorney




                                  Respectfully submitted.


                                  Sean P Reilly DC# N21886




                                     13
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                      USCA11 Case: 21-11565                     Document: 18   Date Filed: 04/15/2022   Page: 20 of 20               04/1.1/2022
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